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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 16-60283-CIV-ZLOCH


  PAUL WEINTRAUB,

             Plaintiff,
                                             FINAL ORDER OF DISMISSAL
  vs.

  THE TIDES ON HOLLYWOOD BEACH
  CONDOMINIUM ASSOCIATION, INC.,

             Defendant.
                                     /
        THIS MATTER is before the Court upon the Joint Stipulation For
  Dismissal With Prejudice And Notice Of Settlement (DE 20) filed
  herein by all Parties.    The Court has carefully reviewed said
  Stipulation, the entire court file and is otherwise fully advised
  in the premises.
       Accordingly, after due consideration, it is
        ORDERED AND ADJUDGED as follows:
       1. The Joint Stipulation For Dismissal With Prejudice And
  Notice Of Settlement (DE 20) filed herein by all Parties be and the
  same is hereby approved, adopted, and ratified by the Court;
        2. The above-styled cause be and the same is hereby DISMISSED
  with prejudice;
       3. To the extent not otherwise disposed of herein, all pending
  motions are DENIED as moot; and
       4. The Court reserves jurisdiction solely for the purpose of
  enforcing the terms of the Parties’ settlement agreement.
        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward
  County, Florida this        25th       day of July, 2016.



                                     WILLIAM J. ZLOCH
                                     United States District Judge

  Copies furnished:

  All Counsel of Record
